
943 So.2d 371 (2006)
In re Darryl JACKSON.
No. 2006-B-2745.
Supreme Court of Louisiana.
December 6, 2006.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent,
IT IS ORDERED that Darryl Jackson, Louisiana Bar Roll number 20233, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Pascal F. Calogero, Jr. Justice, Supreme Court of Louisiana
